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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Case No. 1:25-cv-11048-ADB
President and Fellows of
Harvard College,
Plaintiff,

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United States Department of Health
and Human Services; et al.,

Defendants. ~~

MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF

Robert A. Pietz, appearing pro se, respectfully moves for leave to file the attached materials in

the above-captioned matter, and states as follows:

1. This case is not a routine dispute over administrative procedure. It presents grave
structural concerns involving jurisdictional fabrication, procedural misrepresentation, and tri-
branch manipulation, directly implicating the integrity of constitutional adjudication and the

faithful application of the Court’s Local Rules.
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2. Beyond technical defects, this matter raises questions of urgent national importance.
It concerns whether the leadership of one of the country’s most powerful academic institutions
may circumvent constitutional adjudication through unchecked procedural manipulation.

3. If left unaddressed, such tactics risk establishing precedent for evasive corporate
behavior, thereby weakening judicial oversight and diminishing public confidence in the
administration of justice.

4. The attached [Proposed] Amicus Curiae Brief (Exhibit A) is submitted to assist the
Court in evaluating the broader institutional consequences of allowing Harvard’s litigation strategy
to proceed unchecked.

5. Specifically, the brief details how Harvard’s tactics, including misclassification of
Nature of Suit Code, expedited declaratory gaming, and manipulation of judicial assignment
reflect not mere error, but a coordinated jurisdictional scheme designed to evade normal
adjudicative safeguards.

6. Amicus respectfully submits that the issues raised in this case, including the erosion
of administrative neutrality, the circumvention of jurisdictional thresholds, and the weaponization
of declaratory judgment practice, warrant careful scrutiny beyond the immediate interests of the
named parties.

7. Amicus has no direct financial interest in the outcome of this litigation and offers this
submission solely to assist the Court’s independent and informed evaluation of critical
constitutional and jurisdictional questions arising from procedural misconduct.

8. Although the Court’s Local Rules do not expressly govern the filing of amicus curiae
briefs at the district court level, it remains firmly within this Court’s mherent authority and

discretion to permit such submissions where, as here, the matter implicates egregious violations of
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procedural norms that, if left unchecked, could distort the structure of administrative and
constitutional review.

9. In addition to the present submission, Amicus includes a Declaration (Exhibit B)
clarifying the procedural relationship between this case and Case No. 1:25-cv-10910-ADB
(overseen by the same presiding judge), which raises materially overlapping jurisdictional and
constitutional concerns.

10. Amicus also respectfully submits the previously prepared [Proposed] Amicus Curiae
Brief in Case No. 1:25-cv-10910-ADB (Exhibit C), filed without amendment, supplemented by
the procedural clarification provided in Exhibit B.

11. Granting leave to file will not delay proceedings, prejudice any party, or burden the
orderly administration of justice. On the contrary, it will assist the Court in preserving critical
jurisdictional thresholds and maintaining the integrity of judicial review against attempts to

subvert it through procedural manipulation.

WHEREFORE, Robert A. Pietz, pro se, respectfully requests that the Court grant leave to file
the attached [Proposed] Amicus Curiae Brief (Exhibit A), the accompanying Declaration

(Exhibit B), and the related Proposed Amicus Curiae Brief (Exhibit C) in this matter.

Respectfully submitted, >

s, ee
—_ ike A. Pietz
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Dated: April 25, 2025

Qa
